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                IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE
____________________________________
                                     )
In re:                               )
                                     ) Chapter 11
W.R. GRACE & CO., et al.,            ) Case No. 01-01139 (JKF)
                                     ) (Jointly Administered)
                  Debtors.           ) Objection Deadline: November 25, 2009 at 4:00 p.m.
____________________________________)  Hearing: December 14, 2009 at 10:30 a.m.




       COVER SHEET TO EIGHTEENTH QUARTERLY APPLICATION OF
        TOWERS PERRIN TILLINGHAST, ACTUARIAL CONSULTANTS
                        TO DAVID T. AUSTERN,
         ASBESTOS PI FUTURE CLAIMANTS’ REPRESENTATIVE FOR
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
                  APRIL 1, 2009 THROUGH JUNE 30, 2009


Name of Applicant:                          Towers Perrin Tillinghast

Authorized to Provide Professional
Services to:                                David T. Austern, Asbestos PI Future Claimants’
                                            Representative (the “FCR”)

Date of Retention:                          As of October 29, 2004 (pursuant to this Court's
                                            Order entered December 21, 2004)

Period for which compensation is
sought:                                     April 1, 2009 through June 30, 2009

Amount of Compensation (100%) sought
as actual, reasonable, and necessary:       $1,322.50

Amount of Expense Reimbursement sought
as actual, reasonable and necessary:   $          0.00

This is an:      X    interim               monthly        ___     final application.
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                                    COMPENSATION SUMMARY
                                   April 1, 2009 through June 30, 2009

     Name of                   Position of Applicant,               Hourly     Total         Total
Professional Person           No. of Years in Position,             Billing    Billed     Compensation
                             Prior Relevant Experience,              Rate      Hours
                         Year Obtained License to Practice,       (including
                                  Area of Expertise                changes)
Jenni Biggs              Consulting Actuary (24 years) FCAS          $675        0.70           $472.50
Jeffrey Kimble            Consulting Actuary (8 years) ACAS          $425        2.00           $850.00
Total Blended Rate: $489.81                                                      2.70          $1,322.50

                              COMPENSATION BY PROJECT CATEGORY

                Project Category                    Total Hours                   Total Fees
Data Analysis                                          2.70                                     $1,322.50


                                         EXPENSE SUMMARY

                              Expense Category                                          Total
No Expenses                                                                                         $0.00

April – June 2009 – Grand Total                                                                 $1,322.50

                                        Respectfully submitted,

                                        TOWERS PERRIN TILLINGHAST

                                        By:/S/ JENNIFER L. BIGGS
                                            Jennifer L. Biggs, FCAS, MAAA
                                            101 S. Hanley Rd.
                                            St. Louis, MO 63105
                                            (314) 719-5843
Dated: October 5, 2009




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